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Attorneys for Plaintiff



                      IN THE UNITED STATES DISTRICT COURT
                        IN AND FOR THE DISTRICT OF IDAHO


 LORI S. BLASCH,

               Plaintiff

 V                                                 Case No.

 HEWLETT PACKARD ENTERPRISE COMPLAINT AND DEMAND FOR
 COMPANY, a Delaware corporation, HP, JURY TRIAL
 INC. DIBIA HP COMPUTING AND
 PRINTING, and JOHNiJANE DOES I-V
 whose true identities are unknown,

               Defendants



         COMES NOW the above-named Plaintiff, Lori S. Blasch, by and through her

attorneys of record, Johnson and Monteleone, L.L.P., and, for her claims and causes        of

action against the above-named Defendants, states and alleges as follows:


                                               PARTIES

         1       At all times relevant to this action, Lori S. Blasch, Plaintiff, was and is a

resident of Ada County, Idaho




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         2.       At all times relevant to this action, Hewlett Packard Enterprise Company,        a


Delaware corporation, and HP,lnc. dlblaHP Computing and Printing ("HP") are corporate

entities and were and are Delaware corporations in good standing with the Secretary of

State for the state    of Idaho, currently and properly registered with the Office of             the

Secretary of State for the state of Idaho, and engaged in the business of providing computer

hardware and software components to members of the consuming public. HP's business

address is 3000 Hanover Street, Palo     Alto, CA 94304, and its registered agent for service

of process is CT Corporation System, 921 S. Orchard Street, ste. G, Boise,          ID   83705.



         3.       At all times relevant to this action, John/Jane Does I through V, whose true

identities are presently unknown ("the Doe Defendants"), Defendants, are now and at all

times relevant to this action were entities or individuals who were the agents, employees,

independent contractors, subdivisions, franchisees, wholly-owned subsidiaries, or

divisions of the Defendants specifically identified herein or are entities or individuals

acting on behalf of, in a master/servant or principal/agent relationship with, or in concert

with Defendants named herein.



                               JURISDICTION AND VENUE

         4.       Plaintiff realleges the preceding paragraphs   as   though fully set forth in haec

verba.

          7.      This Court has subject matter jurisdiction over this dispute pursuant to I.C.

$$44-1702      , 44-1704, 67-5908, 67-5909,   and 67-5911.

          8.      ThisCourthaspersonaljurisdictionoverthepartiespursuanttol.C.              $5-514.




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         9.      Venue is proper in this judicial district and county pursuant to I.C. $$5-402,

5-403, and 5-404.




                                         TO ALL CAUSES OF

         10.     Plaintiff realleges the preceding paragraphs   as though   fully   set forth in haec

verba.

          11.    Plaintiff began her employment with Defendant in October 2010 as a

Industrial Designer in Color Material and Finish.

          1,2. Plaintiff was interviewed by Defendant's         HR on three occasions due to

other people complaining about Kevin Rausch and perceived gender discrimination and

harassment. Mr. Rausch was required to undertake sensitivity training. One person

complaining to HR about Kevin Rausch was Julie Roberts-Elliott.

          13.    Julie Roberts-Elliott was constantly singled out in meetings by the director

for working from home in front of all groups even though HP allows employees to work

from home when needed. Julie continued to meet all deadlines in her job responsibilities.

She was   told on many occasions that, if HP had to lay people off, she would the first to go..

          14.    All female employees in Defendant's GXD Division were harassed by Mr.

Rausch, as they would be reprimanded for working from home, when their similarly-

situated, male counterparts would not be so reprimanded. These female employees

included Plaintiff, Daniella Matutes, Cathy Chen, Julie Roberts-Elliott, Aurem Bair, and

Julie Kennedy.

          15.    Mr. Rausch would frequently take work assignments away from female

employees in the GXD Division and give those work assignments to similarly situated,




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male employees. These female employees who were subjected to this disparate treatment

were Plaintiff, Daniella Matutes, Cathy Chen, Julie Roberts-Elliott, and Aurem Bair.

          16.     Kevin Rausch also shared with Julie the other individuals by name who

would be let go which happened to be the majority of the women in Plaintiff s group,

including Plaintiff, Cathy Chen, Julie Roberts-Elliott, and Kara Burns.

          17.     Many work projects were taken away from Defendant's female employees

and given to male counterparts with no explanation or justification. Work projects were

never assigned to women on the same basis that they were assigned to men in the

workplace.

          18.     HR told Julie Roberts-Elliott, after Defendant's investigatioo,      o'..
                                                                                              .fT]here is

no law against having    a   jerk for   a   boss." The investigation did find issues with the group,

and they were going to be addressed. Julie Roberts-Elliott was never notified as to how

they were addressed. Due to the continued harassment (i.e. being criticized and being

called out in front of her peers), Kevin took away the funding for a number of her projects

and gave the remaining projects to her mail counterparts leaving her         with less responsibility

and zerc funding for her remaining projects. She then suffered a health scare due to the

stress   which she felt was significant enough to give her resignation.

          19.     Julie Roberts-Elliott filed for unemployment benefits, even though                 she


resigned and was granted unemployment benefits due to HP not contesting her complaint

of harassment.

          20.     Kara Bums was also harassed by Kevin Rausch. Kara too was terminated

not due to performance just as Plaintiff. She was also called out in front of peers by Kevin

Rausch for being confrontational which in actuality she was performing her            job. Kara did




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not report to Kevin Rausch, but he advised management he wanted her gone, because she

was toxic to the group. Kevin never made such comments about male employees within

the work group.

       21.      Mark La Salle issued a complaint to HR about the women in Plaintiff                  s


group being harassed and nothing was ever followed up on by                 HR. Mark      specifically

informed them that Plaintiff was unnecessarily being singled out on a regular basis and was

not being supported by her direct boss, John Gassett.

       22.      Plaintiff continued to ask to attend an Industrial Design conference for the

four (4) years prior to her termination from employment with Defendant. Plaintiff was

denied this request but ajunior Designer, Ryan Barnes (male), was sent instead of Plaintiff.

       23.      Plaintiff was denied travel for her job, but many of the men in her work

group traveled regularly. Her counterparts in Vancouver, Washington, were allowed to

attend conferences and training.

       24.      Plaintiff was denied classes to advance her career to stay current in her job,

and Defendant denied    Plaintifls such requests on multiple occasions. By stark             contrast,

several men were able to attend such classes, including Nash Stanton.

       25   .   Plaintiff   s   j ob as an   Industrial Designer was in the Color Material and Finish

("CMF") Department working on the plastic housings for LaserJet printers. Plaintiff was

taken off the CMF and placed on a design project and told not to work on the CMF projects.

This was for a three-month period. This was determined by Plaintiff s direct supervisor,

John Gassett, and her director, Kevin Rausch. Plaintiff was then placed back on CMF

because the CMF responsibilities were not being taken care                of   and, at the same time,

Plaintiff was placed on an "unofficial" performance improvement plan ("PIP"). Plaintiff




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was blindsided by being placed on a PIP of any sort because she had been told not to work

on the CMF originally, and this was the primary basis for placement on the PIP. Her direct

manager informed her that the director, Kevin Rausch, told him he had to place her on the

PIP. In the months that followed placement on the PIP, Plaintiff s manager, John Gassett,

would say he needed to address Plaintiff s placement on the PIP. Plaintiff asked him     if
that meant HR would be involved, and he said no, not at all, and that he needed to remove

the PIP from Plaintiff s personnel file.

       26.     Daniella Matutes was also placed on a PIP. She too has been harassed and

discriminated because of her gender. She was hired for a senior position directly under the

director. She was demoted and the position she was hired for was filled by Keith Kozak

and then told she was not qualified. She has been subjected to the same treatment as

Plaintiff with Kevin Rausch providing little to no help in quelling the illegal conduct

occurring in Defendant's workplace in Boise.

       27.     Plaintiff is not aware of any men in her group being placed on a PIP or

reprimanded in any way.

        28.    There was a project review meeting with Respondent's Vice-President of

Design. No women were invited to present their work at this meeting. Complainant's

manager presented Complainant's own Color Material presentation and finish work.

Aurem Bair, a female's work project was presented by her male counterpart, not her

manager). Daniella Matutes also had her work presented by a male peer, as did Cathy

Chen. After the meeting had finished the Master Designer, Michael Leman, asked why no

woman was invited to this meeting and why was Plaintiff s manager presenting Plaintifls

work, especially as even the junior designer (male) was invited to the meeting. No




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explanation has ever been provided to Plaintiff as to why this project review meeting was

only attended by males or why only males were invited to attend.


  FIRST CAUSE OF ACTION .. VIOLATION OF THE IDAHO EOUAL PAY
                     ACT (1.C. Q44-1701. et seq.\

          29.    Plaintiff realleges the foregoingparagraphs   as though   fully   set forth in haec

verba.

          30.    Defendant willfully discriminated against Plaintiff on the basis of her sex

(female) and paid her unequally compared to similarly-situated, male coworkers within the

same employment establishment by paying Plaintiff less than the male coworkers and at a

rate less than the rate which Defendants paid to those male coworkers for comparable work

on jobs   which have comparable requirements relating to skill, effort, and responsibility.

          31.    Defendants willfully violated the Idaho Equal Pay Act, when they retaliated

against Plaintiff and ultimately terminated her employment for having voiced legitimate

concerns and complaints about the gender-based pay disparity which was occurring at

Defendant's facility; this retaliation was in direct violation of I.C. 544^1702(3).

          27.    Defendant discharged and disuiminated against Plaintiff, because she took

action to invoke and/or assist herself andlor her female coworkers with the enforcement          of

the Idaho Equal Pay Act and to end the sex-based wage discrimination.

          28.    Defendants' willful violations of the Idaho Equal Pay Act subject them to

liquidated damages pursuant to I.C. 544-1704(l).

          29.    Plaintiff has exhausted all administrative remedies pursuant to that statute

and has suffered damages as a result of Defendant's conduct.




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         30.    As a direct and proximate cause and result of Defendant's illegal, adverse,

employment actions, including, but not limited to, their violations of the Idaho Equal Pay

Act, Plaintiff has suffered damages, both economic and noneconomic in nature, in               such

amounts as may be proven attrial but which meet the jurisdictional threshold of this Court.

         31.    Plaintiff is further entitled to recover attorney fees and costs incurred in

prosecuting this action, pursuant to Idaho Code $$12-120,12-121, and other applicable

law(s), rule(s), and regulation(s), and requests that this Court award the same.




   SECOND CAUSE OF ACTION - EMPLOYMENT VIOLATION OF AND
RETALIATION IN VIOLATION OF TITLE VII OF'THE CIVIL RIGHTS ACT
OF 1964. AS AMENDED G2 U.S.C. S2000e-5, et seq.l AND THE IDAHO HUMAN
                  RIGHTS ACT (I.C. Q67-5901" elsea.)

          32.   Plaintiff realleges the foregoing paragraphs   as though   fully   set forth in haec

verba.

         33.    At time of her discharge from employment from Defendant, Plaintiff was

fully qualified for her employment positions with Defendant and performed her job duties

well.

          34.   Defendant illegally retaliated against Plaintiff and ultimately terminated her

employment for having communicated in good faith in voicing legitimate concerns about

the preferential treatment being afforded her male coworkers.

         35.    Plaintiff   s voiced, legitimate concerns about the employment law        violation

committed by Defendant in the workplace and which were occurring at Defendant's facility

was both objectively reasonable as well as subjectively reasonable in the premises and

under the applicable circumstances.




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         36.    Defendant retaliated against Plaintiff and thereby materially and negatively

altered the terms and conditions of her employment because of her complaints regarding

the paramour favoritism which was occurring in the workplace as a result of preferential

treatment of Plaintiff s male coworkers, and this retaliation and reprisals were in violation

of I.C. $67-5911, as Plaintiff believed she was opposing an illegal, employment practice.

         37.    Plaintiff has exhausted all administrative remedies pursuant to the

governing statutes and has suffered damages as a result of Defendant's conduct.

        38.     Plaintiff reserves this paragraph for the inclusion of a claim for punitive

damages pursuant to I.C. $67-5908(3Xe) and Title     VII.

         39.    As a direct and proximate cause and result of Defendant's illegal, adverse,

employment actions, including, but not limited to, their violations of the Idaho Equal Pay

Act, Plaintiff has suffered damages, both economic and noneconomic in nature, in such

amounts as may be proven attrial but which meet the jurisdictional threshold of this Court.

         40.    Plaintiff is further entitled to recover attomey fees and costs incurred in

prosecuting this action, pursuant to Idaho Code $$12-120,12-121, 42 U.S.C. $1981a, and

other applicable law(s), rule(s), and regulation(s), and requests that this Court award the

same.




                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays judgment against Defendant as follows:

         1.    As a direct and proximate result of Defendant's actions, Plaintiff has incurred

and suffered the following injuries and damages for which she is entitled to compensation in

amounts to be proven at trial for:




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               a.      Noneconomic damages for past, present, and future pain and suffering,

                       mental anguish, emotional distress, and humiliation;

               b.      Economic damages for past, present, and future loss of wages and loss

                       of earning capacity;

               c.      Liquidated damages for double the economic damages for Defendants'

                       willful   conduct pursuant to I.C. $aa-1704(1);

               d.      Available punitive damages pursuant under Title VII; and

               e.      Such other and further   relief   as   this Court deems just and equitable.

       2.      That as a direct and proximate result of the aforementioned actions of

Defendants, Plaintiff has been required to retain legal counsel for prosecuting this action, has

retained the services of Johnson and Monteleone, L.L.P., to represent her in this action, has

agreed to pay reasonable attomey fees and is therefore entitled to recover reasonable attomey

fees and costs herein from Defendants.




        DATED: This     8th day   of March,2022.




        JOHNSON & MONTELEONE, L.L.P

       /s/ Jason R.N. Monteleone
       Jason R.N. Monteleone
       Attorneys for Plaintiff




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                                DEMAND FOR JURY TRIAL

       Pursuant to F.R.C.P. 38(b), Plaintiff hereby demands a trial by jury on any and all

issues properly triable by   jury in this action.



       DATED: This 8th day of March,2022.



       JOHNSON & MONTELEONE, L.L.P

       /s/ Jason R.N. Monteleone
       Jason R.N. Monteleone
       Attorney s for Plaintiff




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